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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                                      CRIMINAL ACTION NO. 3:11-CR-00010


JUAN LANDEROS-SANDOVAL                                                                DEFENDANT


                          MEMORANDUM OPINION AND ORDER


       On August 16, 2012, Defendant Juan Landeros-Sandoval was convicted of conspiracy to

possess over 1000 kilograms of marijuana with the intent to distribute it and of possession of over

1000 kilograms of marijuana with the intent to distribute it. Landeros-Sandoval has now moved for

a judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29, or, in the alternative, for

a new trial pursuant to Federal Rule of Criminal Procedure 33 (DN 331).

       Landeros-Sandoval contends that he is entitled to a judgment of acquittal because the

government failed to prove his knowledge that he was in possession of marijuana. However, the

evidence was more than sufficient for a rational trier of fact to have found the essential elements of

the crimes–including Landeros Sandoval’s knowledge that he possessed marijuana–beyond a

reasonable doubt. See Jackson v. Virginia, 443 U.S. 307, 319 (1979).

       Landeros-Sandoval’s arguments in favor of a new trial are also without merit. He first argues

that this court erroneously denied his motion for suppression of evidence obtained from the van he

was driving. However, the court sees no reason to reverse the order denying his suppression motion.

The police’s stop of Landeros-Sandoval’s van was based on an objectively reasonable suspicion of

criminal activity.
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       Landeros-Sandoval also argues that he is entitled to a new trial because the court denied his

motion to dismiss the United States’ notice of its intent to seek an enhanced sentence based on

Landeros-Sandoval’s prior felony drug conviction under 21 U.S.C. § 851. Landeros-Sandoval argues

that he was entitled to have the question of whether he was previously convicted of a felony drug

crime submitted to the jury under Apprendi v. New Jersey, 530 U.S. 466 (2000). However, in

Apprendi, the Supreme Court specifically exempted prior convictions from the rule that facts that

increase the penalty for a crime beyond the prescribed statutory maximum must be submitted to a

jury and proved beyond a reasonable doubt. 530 U.S. at 490.

       For all the reasons stated above and the court being otherwise sufficiently advised, IT IS

HEREBY ORDERED AND ADJUDGED that Landeros-Sandoval’s motion for a judgment of

acquittal or a new trial is DENIED.




                          October 29, 2012




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